 Case 3:18-cv-01123-WGY Document 65 Filed 07/12/18 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


JOEL BOSCH, et. al.
                                                     CIVIL NO. 18-1123 (WGY)
        Plaintiffs

        v.


THE COCA-COLA COMPANY, et. al.

        Defendants




  MOTION REQUESTING LEAVE TO WITHDRAW AS LEGAL REPRESENTATION

TO THE HONORABLE COURT:

COME NOW Plaintiffs’ counsel, and respectfully request:

       This motion is presented pursuant to Local Rule 83D that requires leave of Court

for attorneys to withdraw their appearance in any action.

       The Model Rules of Professional Conduct, Rule 1.16 states that a lawyer shall

withdraw from representation of a client if the client insists in taking a course of action

with which the lawyer has a fundamental disagreement. The undersigned counsel have

fundamental disagreements with the client regarding the course of action that should be

taken in the case.

       Upon informing the client of counsels’ intention to withdraw, the client has

proceded to “fire” counsel and has indicated that he wishes counsel to express the

following as the reason for the dismissal: “The client has informed us of the dismissal

that certifies that the client relationship has been lost and the trust has been lost.”
 Case 3:18-cv-01123-WGY Document 65 Filed 07/12/18 Page 2 of 2



       Plaintiffs request that the Court grant them 60 days to retain new counsel and

that all pending terms be likewise extended. Given the specialized nature of the causes

of action and the small size of the Puerto Rico bar that handle these types of cases,

plaintiffs’ retiring counsel understand that the request is reasonable.

WHEREFORE, Plaintiffs request that the Honorable Court grant leave for the withdrawal

of counsel as plaintiffs’ legal representation, that plaintiff be granted 60 days to retain

new counsel and that all terms be extended for an equal term.

RESPECTFULLY SUBMITTED


I CERTIFY that a copy of this motion has been notified to opposing counsel through the

CM/ECF system.


In San Juan, this 12 of July 2018.




    s/ José A. Hernández Mayoral                 s/Patricia Rivera-MacMurray
                                                 Patricia Rivera MacMurray,
    José A. Hernández Mayoral                    USDC No. 222309
    USDC No. 205307                              #206 Tetuán Street, Suite. 702
    #206 Tetuán Street, Suite. 702               San Juan, Puerto Rico 00901
    San Juan, Puerto Rico 00901                  Tel. 787 722 7782/ 787 607 3700
    Tel. 787 722 7782/ 787 607 3700              Fax 787 722 7786
    Fax 787 722 7786                             email: prm3@mac.com
    jahm@mac.com




                                             2
